     Case: 1:25-cv-00600 Document #: 31 Filed: 04/25/25 Page 1 of 1 PageID #:245

                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

Robert J McGee Jr., et al.
                                      Plaintiff,
v.                                                     Case No.: 1:25−cv−00600
                                                       Honorable Jeffrey I Cummings
Thornton Tomasetti, Inc., et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, April 25, 2025:


        MINUTE entry before the Honorable Jeffrey I Cummings: The Court is in receipt
of defendants' motion to dismiss [29]. Plaintiff shall respond by 5/14/25 and defendants
shall reply by 5/28/25. The Court will review the parties' submissions and will either issue
a ruling by mail or set a hearing, if appropriate. The 5/7/25 status report deadline stands.
Mailed notice (cc, )




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